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                 EXHIBIT 4
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                                                                           Edited for publication


            EXPLANATORY MEMORANDUM TO THE TRIBUNAL REPORT
    THE EXECUTIVE COUNSEL TO THE FINANCIAL REPORTING COUNCIL
                                               -and-
                                      (1) DELOITTE LLP
                                   (2) RICHARD KNIGHTS
                                     (3) NIGEL MERCER



           The FRC has published the report of the Disciplinary Tribunal (the Tribunal)
           appointed under paragraph 9(2) of the Accountancy Scheme to hear the Formal
           Complaint brought by the FRC’s Executive Counsel against Deloitte LLP (Deloitte),
           Richard Knights and Nigel Mercer concerning their conduct in relation to (i) the audit
           of the financial statements of Autonomy Corporation plc (Autonomy) for the financial
           years ended 31 December 2009 and 31 December 2010, and (ii) the review of the
           financial results for Autonomy for the periods ended 30 September 2009, 31 March
           2010, 30 June 2010, 30 September 2010, 31 March 2011 and 30 June 2011, and to
           make determinations in relation to Adverse Findings against Deloitte, Mr Knights and
           Mr Mercer, sanctions and costs (the Tribunal Report).

           The sole purpose of the Tribunal was to hear and determine the Formal Complaint
           made against Deloitte, Mr Knights and Mr Mercer, and brought by the FRC’s
           Executive Counsel, and to do so on the basis of the evidence and arguments relied on
           by those parties.

           The Tribunal Report follows a public hearing. No individual director, member of
           management or employee at Autonomy was a party to the Tribunal hearing. The
           Tribunal did not invite, receive or consider any witness evidence from any director,
           member of management at, or employee of Autonomy, and no such individual was
           represented at the Tribunal’s hearings. Further, the Tribunal did not invite or receive
           comments or representations on the terms of the Tribunal Report from any such
           individuals prior to the Tribunal Report being finalised.

           It was not necessary for the Tribunal to have, and the Tribunal did not receive or
           consider, the evidence from individuals at Autonomy (including from its finance
           department, Audit Committee and board) and from others (including investors and
           corporate brokers) that was presented in the High Court civil proceedings brought by a
           subsidiary of Hewlett Packard (Claim Number HC2015-001324) which was heard
           between March 2019 and January 2020. Judgment in that matter has not yet been
           given.

           The Tribunal has not made, and should not be taken to have made, any finding
           against any individual or entity other than Deloitte, Mr Knights and Mr Mercer
           (including Autonomy, or any individual who was a director, member of
           management or employee at Autonomy).

           It would not be fair to treat any part of the Tribunal’s findings, including any
           part(s) of the Tribunal Report, as constituting or evidencing findings against
           anyone other than Deloitte, Mr Knights and/or Mr Mercer.


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                                                                               Edited for publication


            The published Tribunal Report anonymises several third parties, who are instead
            identified by ciphers. To assist readers with the intelligibility of the Tribunal Report,
            and in order to understand the nature of the Misconduct found, the relationship between
            the cipher and the nature of the third party is set out below.



                              Cipher                                      Third party

             D (number)                                  A person who worked for Deloitte LLP.

             A (number)                                  A person who worked for Autonomy
                                                         Corporation.

             AS (number)                                 A subsidiary of Autonomy Corporation.

             TP (number)                                 A third party.

             TP4, TP5, TP10, TP17, TP18, TP22, Value added resellers.
             TP24

             TP6, TP7, TP8, TP9, TP14, TP15, TP19, End users.
             TP20, TP25




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